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                                     EXHIBIT A

                             Assumption and Cure Schedule




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Fuse, LLC and the Debtor Plan Proponents
Schedule of Contracts to be Assumed*
As of 5/1/2019


           Contract Counterparty                         Debtor Party                                      Description                          Contract Type   Cure Amount
  24 Seven, LLC                            Fuse, LLC                               24 Seven LLC Freelance Agreement                            Staffing                $3,044.80


  460 Park Ave South Tenant LLC                                                    NY WeWork                                              Operating                       $0.00
                                                                                   Letter Agreement dated 12/20/11 between 4COM, Inc. and
  4COM, Inc.                               FM Networks LLC                         Fuse Networks LLC                                      Affiliate                       $0.00


  Addison Group, LLC                       Fuse, LLC                               Addison Group                                               Staffing                   $0.00


  Adobe Systems Incorporated               Fuse, LLC                               Adobe Analytics                                             Other                      $0.00
                                           FM Networks, LLC (formerly known as
  Adobe Systems Incorporated               Fuse Networks, LLC)                     Adobe Analytics (Amendment)                                 Other                      $0.00

                                           Fuse, LLC (f/k/a SiTV, Inc., d/b/a
  Adobe Systems Incorporated               nuvoTV)                                 Adobe Pass (TV Everywhere)                                  Other                      $0.00

                                           Fuse, LLC (f/k/a SiTV, Inc., d/b/a
  Adobe Systems Incorporated               nuvoTV)                                 Adobe Pass (TV Everywhere) #3                               Other                      $0.00
  Amazon Digital Services, Inc.            Fuse Networks LLC                       Amazon Digital Video License Agreement                      Digital                    $0.00
  Amazon.com Inc. and affiliates           Joe DiBella on behalf of Fuse           Amazon Prime Video Direct Digital License Agreement         Digital                    $0.00

  Any Moment Inc.                          Fuse, LLC                               Any Moment F/S/O Cam Levin                                  Staffing                   $0.00

  Arturo Marquez                           Fuse, LLC                               Arturo Marquez ‐ Consulting                                 Staffing                   $0.00

  Assignment Desk Inc.                     JAAM Productions, LLC                   Assignment Desk                                             Staffing                   $0.00

                                                                                   Binding Term Sheet ‐ AT&T U‐Verse & DIRECTV, Renewal of
                                                                                   FM (known as Fuse until 9/30/15) executed as of January 8,
  AT&T Services, Inc. (for itself and on                                           2016 by and between AT&T Services, Inc., DIRECTV, LLC and
  behalf of the Affiliated Entities)       FM Networks LLC                         FM Networks LLC (f/k/a Fuse Networks LLC)                  Affiliate                   $0.00


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modifying or otherwise relating to the Assumed Contracts unless explicity rejected by Debtors.                                          Page 1 of 15
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Fuse, LLC and the Debtor Plan Proponents
Schedule of Contracts to be Assumed*
As of 5/1/2019


           Contract Counterparty                            Debtor Party                                   Description                    Contract Type   Cure Amount
  AT&T Services, Inc., for itself and on
  behalf of the entities set forth on
  Schedule I attached hereto and made a                                       Letter Agreement dated 4/13/07 between AT&T Services,
  party hereof                           FM Networks LLC                      Inc. and Fuse Networks LLC                                 Affiliate                  $0.00




  Banijay Rights Limited                       SCN Distribution, LLC          Banijay Rights Limited ‐ Killer in the Classroom: Never Again Programming         $22,680.00

  BOW‐Business On Web, LLC d/b/a
  YourBow                                      Fuse LLC                       BOW dba YourBow                                            Staffing                   $0.00


  BRE Brand Central Holdings L.L.C.            Fuse, LLC                      BRE Brand Central Holding ‐ Glendale Rent                  Operating                  $0.00


  Buena Vista Television                       SCN Distribution, LLC          ACQ ‐ Buena Vista 2019                                     Programming                $0.00


  Buena Vista Television                       Fuse, LLC                      ACQ ‐ Buena Vista (My Wife and Kids)                       Programming                $0.00

  CAMPANARIO ENTERTAINMENT LLC                 SCN DISTRIBUTION, LLC          Campanario Entertainment LLC ‐ Colossus                    Programming                $0.00


  Canadian Broadcasting Corporation            SCN Distribution, LLC          ACQ ‐ Canadian Broadcasting ‐ Sickboy                      Programming             $9,000.00
  Career Group Inc.                            Fuse LLC                       Career Group                                               Staffing                $1,948.00
  CBS Television Distribution, a division of
  CBS Studios Inc.                             SCN Distribution, LLC          ACQ ‐ CBS ‐ Everybody Hates Chris                          Programming                $0.00
  CBS Television Distribution, a division of
  CBS Studios Inc.                             SCN Distribution, LLC          ACQ ‐ CBS ‐ Moesha                                         Programming                $0.00
  CBS Television Distribution, a division of
  CBS Studios Inc.                             SCN Distribution, LLC          ACQ ‐ CBS ‐ Sister, Sister                                 Programming                $0.00
  CBS Television Distribution, a division of
  CBS Studios Inc.                             SCN Distribution, LLC          ACQ ‐ CBS ‐ The Parkers                                    Programming                $0.00

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Fuse, LLC and the Debtor Plan Proponents
Schedule of Contracts to be Assumed*
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           Contract Counterparty                         Debtor Party                                         Description                          Contract Type   Cure Amount
  Cequel III Programming, LLC and Cequel                                               Letter Agreement dated 6/1/07 between Fuse Networks LLC
  Communications, LLC                    FM Networks LLC                               and Cequel III Programming, LLC                         Affiliate                      $0.00
  Changecause, inc. d/b/a Naytev         Fuse, LLC                                     Naytev ‐ Website License                                Other                     $13,500.00
  Changecause, inc. d/b/a Naytev         Fuse, LLC                                     Naytev ‐ Social Media Management and Optimization       Other                          $0.00

                                                                                       Letter Agreement dated 10/6/06 between Charter
  Charter Communications Holding                                                       Communications Holding Company, LLC and Fuse Networks
  Company, LLC                              FM Networks LLC                            LLC                                                   Affiliate                       $0.00

                                            Fuse, LLC (f/k/a SiTV, LLC and SiTV Inc.   Term Sheet made as of 8/4/2015 Charter Communications
                                            (successor in interest to SCN              Holding Company, LLC, on the one hand, and Fuse, LLC (f/k/a
  Charter Communications Holding            Enterprises, LLC)) and FM Networks LLC     SiTV, LLC and SiTV Inc. (successor in interest to SCN
  Company, LLC                              (f/k/a Fuse Networks LLC)                  Enterprises, LLC)) and FM Networks LLC, on the other hand Affiliate                   $0.00

  Cision US Inc.                            Fuse, LLC                                  Cision MSA                                                 Other                      $0.00

  Cision US Inc.                            Fuse, LLC                                  Cision                                                     Other                      $0.00


                                                                                       Letter Agreement dated October 14, 2014 between Citizens
  Citizens Telecom Services Company                                                    Telecom Services Company LLC D/B/A Frontier
  L.L.C. (d/b/a Frontier Communications) FM Networks LLC                               Communications Corporation and Fuse Networks LLC         Affiliate                    $0.00

                                                                                       Term Sheet dated January 1, 2016 entered into by and
  Citizens Telecom Services Company LLC                                                between Fuse LLC and FM Networks LLC, on the one hand,
  (d/b/a Frontier Communications                                                       and Citizens Telecom Services Company LLC d/b/a Frontier
  Corporation)                          Fuse LLC and FM Networks LLC                   Communications Corporation, on the other hand              Affiliate                  $0.00

  Comcast Cable Communications
  Management, LLC, as successor in
  interest to Headend In the Sky, Inc. on
  behalf of itself and its affiliates       FM Networks LLC                            Comcast HITS ‐ Transponder Lease                           Operating                  $0.00


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Fuse, LLC and the Debtor Plan Proponents
Schedule of Contracts to be Assumed*
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          Contract Counterparty                           Debtor Party                             Description                      Contract Type   Cure Amount



                                                                            Letter Agreement made effective as of 1/1/07 between
                                                                            between Fuse Networks LLC and Comcast Cable
  Comcast Cable Communications, LLC         Fuse Networks LLC               Communications, LLC;                                   Affiliate                  $0.00


  Comcast Cable Communications, LLC,
  (on behalf of itself and certain affiliates) Fuse Networks LLC            New Media License Agreement date 11/8/2012             Affiliate                  $0.00




  Complex Media, Inc.                       FUSE, LLC                       ACQ ‐ Complex Media (Complex x Fuse S1)                Programming                $0.00




  Complex Media, Inc.                       FUSE, LLC                       ACQ ‐ Complex Media (Complex x Fuse S2)                Programming                $0.00




  Complex Media, Inc.                       FUSE, LLC                       ACQ ‐ Complex Media (Complex x Fuse S3)                Programming                $0.00




  Complex Media, Inc.                       Fuse, LLC                       ACQ ‐ Complex Media (Complex x Fuse S4)                Programming                $0.00


  Complex Media, Inc.                       SCN Distribution, LLC           ACQ ‐ Complex Media Inc ‐ That White People Shit       Programming                $0.00




  comScore, Inc.                            Fuse, LLC                       comScore (fka Rentrak) MSA ‐ Research                  Other                      $0.00



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Fuse, LLC and the Debtor Plan Proponents
Schedule of Contracts to be Assumed*
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          Contract Counterparty                          Debtor Party                               Description                           Contract Type   Cure Amount



  Concur Technologies, Inc.                Fuse, LLC                        Concur                                                       Other                      $0.00
  Contentstack, LLC                        Fuse, LLC                        Contentstack                                                 Other                      $0.00


                                                                            Letter Agreement dated 3/11/03 between SCN Enterprises
  Cox Communications, Inc.                 Fuse LLC                         dba SiTV, and Cox Communications, Inc.                       Affiliate                  $0.00

                                                                            Term Sheet Agreement dated as of 10/1/02 between CSC
  CSC Holdings, Inc.                       FM Networks LLC                  Holdings, Inc and FUSE Networks LLC                          Affiliate                  $0.00

  David M. Lewis Company LLC               NuvoTV                           DLC ‐ Tom Jones                                              Staffing                   $0.00


                                                                            Affiliation Agreement made as of the 31st day of December
                                                                            2014 between SiTV, LLC a Delaware limited liability company
  DIRECTV, LLC                             Fuse, LLC                        ("Programmer"), and DIRECTV, LLC                            Affiliate                   $0.00


                                                                            Letter Agreement dated 1/7/16 between AT&T Services,
                                                                            Inc., DIRECTV, LLC, on the one hand, and Fuse, LLC on the
  DIRECTV, LLC and AT&T Services, Inc.     Fuse, LLC (f/k/a SiTV, LLC)      other hand                                                   Affiliate                  $0.00


                                                                            Letter Agreement dated 1/8/16 between AT&T Services,
                                                                            Inc., DIRECTV, LLC, on the one hand, and Fuse, LLC on the
  DIRECTV, LLC and AT&T Services, Inc.     Fuse, LLC (f/k/a SiTV, LLC)      other hand                                                   Affiliate                  $0.00
  DIRECTV, LLC or its affiliates and/or
  AT&T Services, Inc. or its affiliates    Fuse, LLC (f/k/a SiTV, LLC)      DirecTV                                                      Other                      $0.00




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Fuse, LLC and the Debtor Plan Proponents
Schedule of Contracts to be Assumed*
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           Contract Counterparty                        Debtor Party                                       Description                           Contract Type   Cure Amount

                                                                                     Amended and Restated Affiliation Agreement made and
                                                                                     effective as of October 20, 2017 by and among DISH
                                           Fuse, LLC (f/k/a SiTV, LLC and SiTV, Inc. Network L.L.C., Fuse, LLC (f/k/a SiTV, LLC and SiTV, Inc.
                                           d/b/a/NUVOtv) and FM Networks LLC d/b/a/NUVOtv), and FM Networks LLC (f/k/a Fuse Networks
  DISH Network L.L.C.                      (f/k/a Fuse Networks LLC)                 LLC)                                                      Affiliate                   $0.00


  E.M. Rose Group, LLC d/b/a Rose Digital Fuse, LLC                                Rose Digital ‐ Maintenance Contract 2019                     Other                      $0.00


  E.M. Rose Group, LLC d/b/a Rose Digital Fuse, LLC                                Rose Digital ‐ Maintenance Contract 2019 Amendment           Other                      $0.00


  E.M. Rose Group, LLC d/b/a Rose Digital Fuse, LLC                                Rose Digital ‐ Maintenance Contract 2019 SOW                 Other                      $0.00

  EcoSet Consulting, LLC                   JAAM Productions, LLC                   EcoSet Storage Rental Space                                  Other                      $0.00
  Emmer Consulting P.C.                    Fuse, LLC                               Emmer Consulting dba Goodfriend                              Staffing                   $0.00
  Encompass Digital Media, Inc.            FM Networks LLC                         Encompass ‐ Satellite Bundled Services                       Operating                  $0.00


  Entertainment Partners Services Group Fuse, LLC                                  Entertainment Partners                                       Staffing                    $0.00
  FreeWheel Media, Inc.                 Fuse, LLC                                  Freewheel Media, Inc. SOW #9                                 Other                   $7,973.30




  FremantleMedia Limited                   SCN Distribution LLC                    ACQ ‐ Fremantle ‐ Bondi Ink Tattoo Crew ‐ Cycle 2            Programming                $0.00
                                                                                   Binding Term Sheet made and entered into to be effective
                                                                                   as of November 23, 2016 between FuboTV, Inc., on the one
                                                                                   hand, and Fuse, LLC and FM Networks LLC, on the other
  FuboTV, inc.                             Fuse, LLC and FM Networks LLC           hand                                                         Affiliate                  $0.00
  Fullscreen, Inc.                                                                 Fullscreen Media ‐ Fuse YouTube Channels                     Other                      $0.00
  Fullscreen, Inc.                         SCN Distribution, LLC                   ACQ ‐ Fullscreen (WTF Baron Davis)                           Programming                $0.00


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Fuse, LLC and the Debtor Plan Proponents
Schedule of Contracts to be Assumed*
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          Contract Counterparty                          Debtor Party                              Description                  Contract Type   Cure Amount
  Future Technology Staffing Inc.          Fuse, LLC                       Future Technology Staffing Inc.                     Staffing                   $0.00


  Gage Hospitality Group                                                   The Gage & Acanto Restaurants                       Other                      $0.00


                                                                           Letter Agreement between GCI Cable, Inc. and Fuse
  GCI Cable, Inc.                          FM Networks LLC                 Networks LLC dated 9/28/05                          Affiliate                  $0.00
  Getty Images (US), Inc.                  FM Networks, LLC                Getty Images ‐Digital                               Other                      $0.00
  Heath General Contracting, Inc.          Fuse, LLC.                      Heath General Contracting ‐ Glendale Office         Other                      $0.00




  Hey Kyle, LLC                            JAAM Productions, LLC           Kyle Harvey                                         Programming            $25,000.00


  Hulu, LLC                                Fuse, LLC f/k/a SiTV, Inc.      Hulu                                                Other                      $0.00
  iHeartMedia + Entertainment, Inc.        Fuse, LLC                       ORIG ‐ IHeart Media (Big Boy's Neighborhood S1)     Programming                $0.00
                                                                           ORIG ‐ IHeart Media (Big Boy's Neighborhood S1) ‐
  iHeartMedia + Entertainment, Inc.        Fuse, LLC                       Amendment                                           Programming                $0.00
  iHeartMedia + Entertainment, Inc.        Fuse, LLC                       ORIG ‐ IHeart Media (Big Boy's Neighborhood S2)     Programming                $0.00


  INVNT, LLC                               Fuse, LLC                       INVNT MSA                                           Other                      $0.00


  JBCconnect CA LLC                        Fuse, LLC                       JBC Connect                                         Staffing                   $0.00


  Juno Films, Inc.                         SCN Distribution, LLC           Juno Films ‐ Don't Be Nice                          Programming                $0.00
  Juno Search Partners, LLC                Fuse, LLC                       Juno Search Partners                                Staffing                   $0.00



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Fuse, LLC and the Debtor Plan Proponents
Schedule of Contracts to be Assumed*
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          Contract Counterparty                          Debtor Party                              Description                        Contract Type   Cure Amount


  JW Player / Longtail Ad Solutions, Inc.   Fuse, LLC                      JW Player                                                 Other                      $0.00




  KD Consulting LLC                         Fuse, LLC                      KD Consulting F/S/O Kristin Davie                         Staffing                   $0.00




  KD Consulting LLC                         Fuse, LLC                      KD Consulting F/S/O Kristin Davie Amendment               Staffing                   $0.00
  Kyo Logic LLC                             Fuse, LLC                      Kyo Logic MSA                                             Other                      $0.00
  Kyo Logic, LLC                            Fuse, LLC                      Kyo Logic                                                 Other                      $0.00
                                                                           Binding Term Sheet between Layer3 TV, Inc. and Fuse LLC
  Layer3 TV, Inc.                           Fuse LLC                       and FM Networks LLC dated 2/26/16                         Affiliate                  $0.00




  LeftCenter Entertainment LLC              Fuse, LLC                      LeftCenter Entertainment F/S/O Sean Joell Johnson         Staffing                   $0.00


  Lions Gate Films Inc.                     SCN Distribution, LLC          ACQ ‐ Lions Gate Films 2018‐2019 (11 Titles)              Programming                $0.00


  Lions Gate Films Inc.                     SCN Distribution, LLC          ACQ ‐ Lions Gate Films 2019‐2020                          Programming                $0.00


  Lucas Group                               FUSE, LLC                      Lucas Group                                               Staffing                   $0.00

  Management Science Associates, Inc.       Fuse Networks LLC              MSA/EDI                                                   Other                      $0.00




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          Contract Counterparty                         Debtor Party                                 Description                         Contract Type   Cure Amount


  Matador Content, LLC, c/o Hansen,
  Jacobson, Teller, Hoberman, Newman,
  Warren, Rush & Kaller, & Gellman L.L.P   JAAM Productions, LLC              Jenkins Jones                                             Programming                $0.00
  McGarrigan Media, furnishing the
  services of Lauri McGarrigan             Fuse, LLC                          McGarrigan ‐ Consulting Service                           Staffing                   $0.00
  Mediacom LLC and Mediacom                                                   Letter Agreement dated 3/1/00 between Mediacom
  Broadband LLC                            FM Networks LLC                    Broadband LLC and MuchMusic USA Venture                   Affiliate                  $0.00
  MEDIARADAR, INC.                         Fuse, LLC d/b/a Fuse Media         Mediaradar Amendment                                      Other                      $0.00

  Michael Guglielmino p/k/a Mike Cash      JAAM Productions, LLC              Composer Agreement ‐ What's UR Thing (Mike Cash)          Programming                $0.00




  Miramax, LLC                             SCN Distribution LLC               ACQ ‐ Miramax 2018‐2019 (7 Titles)                        Programming                $0.00




  Miramax, LLC                             SCN Distribution LLC               ACQ ‐ Miramax 2019‐2020 (5 Titles)                        Programming                $0.00
                                                                              Letter Agreement dated 10/17/13 between Fuse Networks
  MSG Holdings, L.P.                       FM Networks LLC                    LLC and MSG Holdings, L.P.                                Affiliate                  $0.00


  Nappy Boy Productions, LLC               JAAM Productions, LLC              ORIG ‐ Nappy Boy Productions (T‐Pain School of Business)    Programming              $0.00
                                                                              Affiliation Agreement made as of the 31st day of December
                                                                              2015, and effective as of January 1, 2016 by and between,
                                                                              on the one hand, Fuse, LLC and FM Networks LLC, and, on
  National Cable Television Cooperative,                                      the other hand, National Cable Television Cooperative, Inc.
  Inc.                                     Fuse, LLC and FM Networks LLC      including any agreements entered into pursuant to such      Affiliate                $0.00



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Fuse, LLC and the Debtor Plan Proponents
Schedule of Contracts to be Assumed*
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          Contract Counterparty                          Debtor Party                                 Description                   Contract Type   Cure Amount


  New Ulm Telecom, Inc. d/b/a NU‐                                          Letter Agreement made effective as of 4/1/11 between New
  Telecom                                   FM Networks LLC                Ulm Telecom, Inc. dba NU‐Telecom and Fuse Networks LLC Affiliate                   $0.00


  Normandie Productions LLC                 JAAM Productions, LLC          ORIG ‐ Normandie Prod ‐ Side Gig S1 / T‐Pain S1         Programming                $0.00




  Normandie Productions LLC                 JAAM Productions, LLC          ORIG ‐ Normandie Prod (T‐Pain School of Businss S2)     Programming                $0.00

  Ole Media Management L.P. d/b/a
  Jingle Punks by its general partner Ole
  Media Management (GP) Inc.                Fuse, LLC                      Ole Media ‐ Jingle Punks                                Other                  $18,000.00

  Paramount Pictures Corporation            SCN Distribution, LLC          ACQ ‐ Paramount 2018 (4 Titles)                         Programming                $0.00


  Paramount Pictures Corporation            SCN Distribution, LLC          ACQ ‐ Paramount 2019‐2020 (6 Titles)                    Programming                $0.00



  Paramount Pictures Corporation            SCN Distribution, LLC          ACQ ‐ Paramount 2019‐2020                               Programming                $0.00

  Performance Works Consulting, LLC         Fuse, LLC                      Performance Works F/S/O Loree Goffigon                  Staffing                   $0.00

  Performance Works Consulting, LLC         Fuse, LLC                      Performance Works F/S/O Loree Goffigon Amendment        Staffing                   $0.00
  Pitch Film Ltd                            SCN Distribution, LLC          ACQ ‐ Pitch Film LTD (Fatherhood)                       Programming                $0.00




  Rainbow Network Communications            Fuse Networks LLC              RNC Intellisat ‐ Cap Lease Liability                    Cap Lease                  $0.00



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  Rainbow Network Communications           Fuse Networks LLC                       RNC Pan Am ‐ Cap Lease Liability                        Cap Lease                  $0.00
  RCN Telecom Services, Inc., on behalf of
  itself and its direct and indirect                                               Letter Agreement dated 7/6/05 between RCN Telecom
  subsidiaries                             FM Networks LLC                         Services, LLC and Fuse Networks LLC                     Affiliate                  $0.00
  Red Bull Media House North America,
  Inc.                                     Fuse, LLC                               ACQ ‐ Red Bull ‐ Social Fabric                          Programming                $0.00
  Rentrak Corporation                      Fuse LLC                                Rentrac/ Comscore ‐ Research                            Other                      $0.00



  Revolution Studios Distribution
  Company, LP                              SCN Distribution LLC                    ACQ ‐ Revolution Studios 2019‐2020 (4 Titles)           Programming                $0.00

  Roku, Inc.                               Fuse, LLC                               Roku Distribution Agreement                             Digital                    $0.00

  Roku, Inc.                               Fuse, LLC                               Roku Amendment                                          Digital                    $0.00
  Seville Pictures Inc., dba Seville
  International                            SCN Distribution, LLC                   ACQ ‐ Seville International (I Used to Be Normal)       Programming            $11,250.00
  Shareablee                               FM Networks LLC                         Shareablee ‐ Research                                   Other                       $0.00
  Sintec Media MIL INC (Formerly
  STORERTV, Inc.)                          Fuse LLC                                Sintec Media License Agreement Extension FE             Other                      $0.00
  SintecMedia (MKE) Inc. (f/k/a
  SintecMedia (StorerTV) Inc., f/k/a       Fuse, LLC (f/k/a SiTV, LLC, d/b/a
  StorerTV Inc.)                           NuvoTV, f/k/a SiTV, Inc., d/b/a NuvoTV) Sintec Media Lic Fee ( Admin) ‐ Sims                    Other                      $0.00
  SintecMedia, Inc.                        FM Networks LLC                         Sintec Media                                            Other                      $0.00

  Sony Music Entertainment                 JAAM Productions, LLC                   Sony Music Entertainment Master Use License ‐ My Next Fix Programming            $318.00
  Sony Pictures Television Inc.            SCN Distribution, LLC                   ACQ ‐ Sony (Malcom & Eddie + 20 Titles)                   Programming              $0.00
  Sony Pictures Television Inc.            SCN Distribution, LLC                   ACQ ‐ Sony 2017‐2018 (17 Titles)                          Programming              $0.00

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          Contract Counterparty                         Debtor Party                                       Description                       Contract Type   Cure Amount
  Sony Pictures Television Inc.            SCN Distribution, LLC                   ACQ ‐ Sony 2018‐2020 (V.I.P. + 20 Titles)              Programming                  $0.00
                                                                                   Letter Agreement dated 1/1/14 between Southern Vermont
  Southern Vermont Cable Company           FM Networks LLC                         Cable Company and Fuse Networks LLC                    Affiliate                    $0.00




  Strangers In The Night Inc.              JAAM Productions, LLC                   ORIG ‐ Cipha Sounds                                      Programming                $0.00


  Submersive Media, LLC                    Fuse, LLC                               Submersive Media MSA                                     Staffing                   $0.00
                                                                                   Letter Agreement dated 12/11/09 between SureWest
  SureWest Communications                  FM Networks, LLC                        Broadband, dba SureWest Televideo and Fuse Networks LLC Affiliate                   $0.00
                                                                                   Binding Term Sheet dated 11/20/13 between SureWest
  SureWest TeleVideo D/B/A SureWest BroFuse, LLC                                   Televideo, dba SureWest Broadband and SiTV, Inc.        Affiliate                   $0.00




  TalentHub Worldwide, Inc.                Fuse                                    TalentHub                                                Staffing                $1,935.75
                                                                                   Revenue Share Agreement entered into on 4/18/19 by and
  The Agency Film Group, LLC dba Agency                                            between The Agency Film Group, LLC dba Agency Media
  Media Group                           Fuse, LLC                                  Group, and Fuse, LLC                                     Affiliate                  $0.00


  The DLC Group                            Fuse, LLC                               Consulting ‐ Prashant Bansal                             Staffing                   $0.00
  The Grapevine Agency                     Fuse LLC                                Grapevine                                                Staffing                   $0.00
  The Hired Guns Marketing Consulting
  Group, LLC                               Fuse, LLC                               The Hired Guns                                           Staffing                   $0.00
                                           Fuse, LLC (formerly known as SiTV, LLC,
  The Lippin Group, Inc                    d/b/a NUVOtv)                           Lippin Group (Extension 1)                               Staffing                   $0.00
                                           Fuse, LLC (formerly known as SiTV, LLC,
  The Lippin Group, Inc                    d/b/a NUVOtv)                           Lippin Group (Extension 2)                               Staffing                   $0.00

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As of 5/1/2019


           Contract Counterparty                        Debtor Party                               Description                         Contract Type   Cure Amount



  The Nielsen Company (US), LLC            FM Networks LLC                Nielsen ‐ Media Research (Fuse)                             Other                      $0.00


  The Nielsen Company (US), LLC            FM Networks LLC                Nielsen ‐ Media Research (Fuse) Amendment                   Other                      $0.00
  The Pocketbook Agency, LLC                                              The Pocketbook Agency                                       Staffing                   $0.00

  This Is Just A Test Media, LLC           JAAM Productions, LLC          ORIG ‐ This Is Just A Test (Sugar & Toys)                   Programming                $0.00

  This Is Just A Test Media, LLC           JAAM Productions, LLC          ORIG ‐ This Is Just A Test (Sugar & Toys) ‐ Pickup Letter   Programming                $0.00




  Tier 2 Films, Inc.                       SCN Distribution, LLC          ACQ ‐ Tier 2 Films ‐ Hollywood Hearts                       Programming                $0.00



                                                                          Letter Agreement dated 12/19/00 between Time Warner
  Time Warner Cable                        FM Networks LLC                Cable and Fuse Networks LLC (fka MuchMusic USA Venture) Affiliate                      $0.00
                                                                          Affiliation Agreement dated as of September 23, 2003,
                                                                          between SCN Enterprises, LLC d/b/a SiTV and Time Warner
  Time Warner Cable Inc.                   Fuse LLC                       Cable, Inc.                                                 Affiliate                  $0.00




                                                                          Video on Demand License Agreement dated as of June 23,
  Time Warner Cable Inc.                   Fuse LLC                       2008 by and between SiTV, Inc. and Time Warner Cable Inc. Affiliate                    $0.00
  Tubi, Inc.                               Fuse, LLC                      Tubi Digital Distribution License Agreement               Digital                      $0.00
  Tubular Labs, Inc.                       Fuse, LLC                      Tubular Labs Addendum #1                                  Other                        $0.00



*The Assumed Contracts include all amendments, addenda, schedules, other attachments, side letters, undertakings or other agreements affecting,
modifying or otherwise relating to the Assumed Contracts unless explicity rejected by Debtors.                                        Page 13 of 15
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Fuse, LLC and the Debtor Plan Proponents
Schedule of Contracts to be Assumed*
As of 5/1/2019


           Contract Counterparty                         Debtor Party                                  Description                  Contract Type   Cure Amount
  Twentieth Television, Inc., as
  distribution agent for Twentieth
  Century Fox Film Corporation              SCN Distribution, LLC          ACQ ‐ Fox 2018 (4 Titles)                               Programming                 $0.00
  Twentieth Television, Inc., as
  distribution agent for Twentieth
  Century Fox Film Corporation              SCN Distribution, LLC          ACQ ‐ Fox 2019‐2020 (6 Titles)                          Programming                 $0.00
  distribution agent for Twentieth
  Century Fox Film Corporation              SCN Distribution, LLC          ACQ ‐ Fox ‐ Malcolm in the Middle                       Programming                 $0.00




  Twitter, Inc.                             Fuse, LLC                      Twitter Video Content Provider Agreement                Digital                     $0.00


  UMG Recordings, Inc.                      Fuse, LLC                      ACQ (Music) ‐ UMG                                       Programming           $250,000.00




  Universal City Studios Productions LLLP SCN Distribution, LLC            ACQ ‐ NBCU 2018‐2020 (5 Titles)                           Programming               $0.00
                                                                           Letter Agreement dated 6/22/11 between Vivicast, LLC (fka
  Vivicast, LLC fka National Telco                                         National Telco Television Consortium, LLC) and Fuse
  Television Consortium, LLC                FM Networks LLC                Networks LLC including any agreements entered into        Affiliate                 $0.00
  Volt Workforce Solutions, a division of
  Volt Management Corp.                     Fuse, LLC                      Volt                                                    Staffing                    $0.00


  Vubiquity, Inc.                           FM Networks LLC                Vubiquity                                               Other                       $0.00




  Vubiquity, Inc.                           FM Networks LLC                Vubiquity Extension                                     Other                       $0.00

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modifying or otherwise relating to the Assumed Contracts unless explicity rejected by Debtors.                                        Page 14 of 15
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Fuse, LLC and the Debtor Plan Proponents
Schedule of Contracts to be Assumed*
As of 5/1/2019


          Contract Counterparty                         Debtor Party                              Description                          Contract Type   Cure Amount
  Warner Bros. Domestic Television
  Distribution, a division of Warner Bros.
  Worldwide Television Distribution Inc. SCN Distribution, LLC            ACQ ‐ Warner Bros 2018‐2019 (15 Titles)                     Programming                $0.00
  Warner Bros. Domestic Television
  Distribution, a division of Warner Bros.
  Worldwide Television Distribution Inc. SCN Distribution, LLC            ACQ ‐ Warner Bros 2019‐2020 (11 Titles)                     Programming                $0.00




  Warner Bros. Domestic Television
  Distribution, a division of Warner Bros.
  Worldwide Television Distribution Inc. SCN Distribution, LLC            ACQ ‐ Warner Bros 2019‐2020 2nd Deal (3 Titles)             Programming                $0.00

  We Buy Gold, Inc.                        JAAM Productions, LLC          We Buy Gold ‐ Reverse Brothers                              Programming                $0.00
  WeWork Companies Inc.                                                   Chicago 20 W Kinzie ‐WeWork Kinzie                          Operating                  $0.00
  WideOrbit Inc.                           FM Networks LLC                WideOrbit ‐ Lic & Support Traffic Software FM               Other                      $0.00


  Wilo Group LLC dba Percent Gray          Fuse, LLC                      Percent Grey/ Wilo Consulting fso Lauren Espiritu‐Philson   Staffing                   $0.00


  Wolfe Video, LLC                         SCN Distribution, LLC          ACQ ‐ Wolfe Video LLC (Venus)                               Programming                $0.00
  Xumo LLC                                 Fuse LLC                       Xumo Content License Agreement                              Digital                    $0.00

  Yoh Services LLC                         Fuse LLC                       Yoh                                                         Staffing                   $0.00

  Yoh Services LLC                         Fuse LLC                       Yoh Amendment                                               Staffing                   $0.00
  ZED                                      SCN Distribution, LLC          ACQ ‐ Zed ‐ Music on the Road                               Programming                $0.00

                                                                                                                                                           $364,649.85

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